                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


ESTATE OF ANTONIO GONZALES,
by and through its personal representative,
SANDRA GONZALES,
            Plaintiff,

       v.                                               Case No. 21-C-0848

JOSEPH ANTHONY MENSAH, et al.,
           Defendants.
______________________________________________________________________

                                 DECISION AND ORDER

       In this suit, the plaintiff brings claims under 42 U.S.C. § 1983 and other laws

against Officer Joseph Mensah and the City of Wauwatosa and its police chief. Discovery

is ongoing. Before me now is Officer Mensah’s motion for a limited stay of discovery

against him pending a potential charging decision in a Wisconsin proceeding or, in the

alternative, a protective order preventing discovery in this case about the matters at issue

in the Wisconsin proceeding. 1

       This suit arises out of Mensah’s fatally shooting Antonio Gonzales on July 16,

2015. Approximately one year later, on June 23, 2016, Mensah was involved in another

use of force in which he shot and killed Jay Anderson, Jr. Anderson’s estate has filed a

separate lawsuit against Mensah and the City of Wauwatosa. That lawsuit is pending

before another judge of this court. Currently pending in the Milwaukee County Circuit

Court is a proceeding under Wis. Stat. § 968.02(3) relating to Mensah’s shooting of



1 Also before me is Mensah’s motion for a protective order preventing the plaintiffs from
taking his deposition until the court rules on the motion to stay. Because I decide the
motion to stay in this order, the motion for protective order will be denied as moot.



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Anderson. The judge presiding over that case has appointed two special prosecutors to

determine whether criminal charges against Mensah are warranted. A hearing in that

case is scheduled for March 18, 2022, and Mensah’s counsel believes that it is possible

that the special prosecutors will render a charging decision at that time. Mensah asks for

a stay of discovery against him in this case—which does not involve the shooting of

Anderson—until a charging decision is made in the Anderson proceeding.

         A district court’s “power to stay proceedings is incidental to the power inherent in

every court to control the disposition of the causes on its docket with economy of time

and effort for itself, for counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254

(1936). If the circumstances warrant, district courts may use this power to stay

proceedings in a civil case when there is a parallel criminal prosecution. See, e.g.,

DeMarb v. Isroff, No. 20-cv-778-pp, 2021 WL 4250086, at *2–3 (E.D. Wis. Sept. 17,

2021).

         In the present case, I conclude that a stay of discovery with respect to the incident

involving Gonzales is unwarranted. The pending criminal investigation relates to the

shooting of Anderson, which occurred nearly a year after the shooting of Gonzales.

Mensah does not identify any way in which responding to discovery about Gonzales could

incriminate him in connection with the death of Anderson. Nor does Mensah explain how

his defense against Gonzales’ claim could be prejudiced if discovery proceeded while

special prosecutors were investigating his conduct involving Anderson. Accordingly, his

request for a limited stay until the special prosecutors make their charging decision will

be denied.



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      However, I will grant Mensah’s alternative request (ECF No. 20 at 3, ¶ 8) for a

protective order precluding discovery in this action from Mensah that relates to his

conduct involving Anderson. See Fed. R. Civ. P. 26(c). Gonzales’ estate has not

advanced an argument in opposition to this alternative request, and I cannot envision any

way in which discovery about the Anderson incident would be relevant to the estate’s

claims. See Fed. R. Civ. P. 26(b) (discovery permitted only on matters relevant to a claim

or defense in the case). Further, the estate concedes that these are distinct events and

that discovery about Anderson would not be relevant to its own claims. (ECF No. 21 at

4.)

      Accordingly, IT IS ORDERED that Mensah’s motion for a limited stay of discovery

(ECF No. 20) is DENIED but that his alternative request for a protective order precluding

discovery in this action from Mensah that relates to his conduct involving Anderson is

GRANTED.

      IT IS FURTHER ORDERED that Mensah’s motion for a protective order pending

a ruling on the motion to stay (ECF No. 22) is DENIED as MOOT.

      Dated at Milwaukee, Wisconsin, this 10th day of March, 2022.



                                                s/Lynn Adelman________
                                                LYNN ADELMAN
                                                United States District Judge




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